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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                   CASE NO. 1:94cr01009-MP-AK

JOHN RICHARD KNOCK,
     aka MICHAEL PHILLIP RYAN,
     aka MICKEY RYAN,
     aka JOHN RICHARD PHILLIPS
     aka PATRICK OSBORNE
     aka CHARLES MELIA and
ALBERT THOMAS MADRID,

            Defendants.
____________________________________/

            FINAL ORDER OF FORFEITURE OF SUBSTITUTE PROPERTY

        THIS CAUSE CAME before the Court on the motion of the United States of America for

a Final Order of Forfeiture of Substitute Property. Being fully advised in the premises, the Court

finds as follows:

        WHEREAS, on July 9, 2001, this Court entered a Final Order of Forfeiture against the

following property:

               A.      The sum of $438,000,000.00 as total proceeds obtained by John Richard
                       Knock from his illegal drug activity during and in furtherance of the
                       conspiracy.

               B.      The sum of $8,800,000.00 as total proceeds obtained by Albert Thomas
                       Madrid from his illegal drug activity and

WHEREAS, on February 11, 2005, the Court entered a Preliminary Order of Forfeiture of

Substitute Property against the following property:

               (A)     $3,122.53 in United States Currency
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                 (B)      $9,620.00 in United States Currency

        WHEREAS, pursuant to 21 U.S.C. § 853(p), the United States now seeks forfeiture of the

substitute property in partial satisfaction of the $438,000,000.00 money judgment; and

        WHEREAS, on February 21, 2005, Notice of Forfeiture for Publication was published in

the Gainesville Sun, a newspaper of general circulation; and

        WHEREAS, no persons or entities have filed a petition asserting an interest in the

property; and

        WHEREAS, the following substitute property will be credited to the $438,000,000.00

money judgment of John Richard Knock:

                 (A)      $3,122.53 in United States Currency

                 (B)      $9,620.00 in United States Currency

        ORDERED, ADJUDGED and DECREED that the right, title and interest to the above-

described substitute property, is hereby condemned, forfeited and vested in the United States of

America, and shall be disposed of in accordance with the law. Furthermore, the United States of

America is hereby ordered to credit the net proceeds to the forfeiture judgment of the defendant,

John Richard Knock.

        DONE AND ORDERED this              29th day of September, 2005


                                         s/Maurice M. Paul
                                    Maurice M. Paul, Senior District Judge




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